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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  § CASE NUMBER 1:19-CR-111
v.                                                §
                                                  §
                                                  §
                                                  §
KELWIN ANDRE KING                                 §

         REPORT AND RECOMMENDATION ON PETITION FOR WARRANT
                   FOR OFFENDER UNDER SUPERVISION

       Pending is a “Petition for Warrant or Summons for Offender Under Supervision” filed

November 12, 2024, alleging that the Defendant, Kelwin Andre King, violated his conditions of

supervised release. This matter is referred to the undersigned United States magistrate judge for

review, hearing, and submission of a report with recommended findings of fact and conclusions

of law. See United States v. Rodriguez, 23 F.3d 919, 920 n.1 (5th Cir. 1994); see also 18 U.S.C.

§ 3401(i) (2000); E.D. Tex. Crim. R. CR-59.

                           I. The Original Conviction and Sentence

       King was sentenced on May 6, 2020, before The Honorable Marcia A. Crone of the

Eastern District of Texas after pleading guilty to the offense of Conspiracy to Use and Carry a

Firearm During and In Relation to a Drug Trafficking Crime, a Class C felony. This offense

carried a statutory maximum imprisonment term of 20 years. The guideline imprisonment range,

based on a total offense level of 15 and a criminal history category of III, was 24 to 30 months.

King was subsequently sentenced to 42 months imprisonment followed by 2 years supervised

release subject to the standard conditions of release, plus special conditions to include financial




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disclosure; no psychoactive substances; drug aftercare; acquire high school equivalency

certificate, and a $100 special assessment.

                                     II. The Period of Supervision

       On April 26, 2023, King completed his period of imprisonment and began service of the

supervision term.

                                        III. The Petition

       United States Probation filed the Petition for Warrant for Offender Under Supervision

raising four allegations. The petition alleges that King violated the following conditions of

release:

       Allegation 1. After initially reporting to the probation office, the Defendant must
       report to the probation officer as instructed.

       Allegation 2. The Defendant must not knowingly leave the federal judicial district
       where authorized to reside without first getting permission from the court or
       probation officer.

       Allegation 3. The Defendant must live at a place approved by the probation
       officer. If the living arrangements change, the Defendant must notify the
       probation officer at least ten days in advance of the change.

       Allegation 4. The Defendant must notify his probation officer within 72 hours of
       being questioned by law enforcement.

                                        IV. Proceedings

       On March 17, 2025, the undersigned convened a hearing pursuant to Rule 32.1 of the

Federal Rules of Criminal Procedure to hear evidence and arguments on whether the Defendant

violated conditions of supervised release, and the appropriate course of action for any such

violations.

       At the revocation hearing, counsel for the Government and the Defendant announced an

agreement as to a recommended disposition regarding the revocation. The Defendant agreed to



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plead “true” to the first allegation that claimed he failed to report to his probation officer as

instructed on October 25, 2024. In return, the parties agreed that King should serve a term of 8

months’ imprisonment, with no supervised release to follow.

                                        V. Principles of Analysis

        According to Title 18 U.S.C. § 3583(e)(3), the court may revoke a term of supervised

release and require the defendant to serve in prison all or part of the term of supervised release

authorized by statute for the offense that resulted in such term of supervised release without

credit for time previously served on post-release supervision, if the court, pursuant to the Federal

Rules of Criminal Procedure applicable to revocation of probation or supervised release, finds by

a preponderance of the evidence that the defendant violated a condition of supervised release,

except that a defendant whose term is revoked under this paragraph may not be required to serve

on any such revocation more than five years in prison if the offense that resulted in the term of

supervised release is a Class A felony, more than three years if such offense is a Class B felony,

more than two years in prison if such offense is a Class C or D felony, or more than one year in

any other case. The original offense of conviction was a Class C felony, therefore, the maximum

imprisonment sentence is 2 years.

        According to U.S.S.G. § 7B1.1(a)1, if the court finds by a preponderance of the evidence

that the Defendant violated conditions of supervision by failing to report to his probation officer

as instructed, the Defendant will be guilty of committing a Grade C violation. U.S.S.G. §

7B1.3(a)(2) indicates that upon a finding of a Grade C violation, the court may (A) revoke

probation or supervised release; or (B) extend the term of probation or supervised release and/or

modify the conditions of supervision.


1. All of the policy statements in Chapter 7 that govern sentences imposed upon revocation of supervised release
are non-binding. See U.S.S.G. Ch. 7 Pt. A; United States v. Price, 519 F. App’x 560, 562 (11th Cir. 2013).

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       U.S.S.G. § 7B1.4(a) provides that in the case of revocation of supervised release based on

a Grade C violation and a criminal history category of III, the policy statement imprisonment

range is 5 to 11 months.

       According to U.S.S.G. § 7B1.3(c)(1), where the minimum term of imprisonment

determined under U.S.S.G. § 7B1.4 is at least one month but not more than six months, the

minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of

imprisonment that includes a term of supervised release with a condition that substitutes

community confinement or home detention according to the schedule in U.S.S.G. § 5C1.1(e), for

any portion of the minimum term.

       In determining the Defendant’s sentence, the court shall consider:

       1. The nature and circumstance of the offense and the history and characteristics of the
          defendant; see 18 U.S.C. § 3553(a)(1);

       2. The need for the sentence imposed: to afford adequate deterrence to criminal conduct;
          to protect the public from further crimes of the defendant; and to provide the
          Defendant with needed educational or vocational training, medical care, other
          corrective treatment in the most effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-
          (D);

       3. Applicable guidelines and policy statements issued by the Sentencing Commission,
          for the appropriate application of the provisions when modifying or revoking
          supervised release pursuant to 28 U.S.C. § 994(a)(3), that are in effect on the date the
          defendant is sentenced; see 18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);

       4. Any pertinent policy statement issued by the Sentencing Commission, pursuant to 28
          U.S.C. § 994(a)(2), that is in effect on the date the defendant is sentenced; see 18
          U.S.C. § 3553(a)(5); and

       5. The need to avoid unwarranted sentence disparities among defendants with similar
          records who have been found guilty of similar conduct; see 18 U.S.C. § 3553(a)(6).

       6. The need to provide restitution to any victims of the offense.

18 U.S.C. §§ 3583(e) and 3553(a).




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                                         VI. Application

       The Defendant pled “true” to the petition’s allegation that he violated a standard

condition of release that she failed to report to his probation officer as instructed. Based upon

the Defendant’s plea of “true” to this allegation of the Petition for Warrant or Summons for

Offender Under Supervision and U.S.S.G. § 7B1.1(a), the undersigned finds that the Defendant

violated a condition of supervised release.

       The undersigned has carefully considered each of the factors listed in 18 U.S.C. §

3583(e). The Defendant’s violation is a Grade C violation, and the criminal history category is

III. The policy statement range in the Guidelines Manual is 5 to 11 months. The Defendant did

not comply with the conditions of supervision and has demonstrated an unwillingness to adhere

to conditions of supervision.

       Consequently, incarceration appropriately addresses the Defendant’s violation. The

sentencing objectives of punishment, deterrence and rehabilitation along with the

aforementioned statutory sentencing factors will best be served by a prison sentence of 8 months,

with no supervised release to follow.

                                     VII. Recommendations

       The court should find that the Defendant violated the allegation in the petition that he

violated a standard condition of release by failing to report to his probation officer as instructed.

The petition should be granted and the Defendant’s supervised release should be revoked

pursuant to 18 U.S.C. § 3583. The Defendant should be sentenced to a term of 8 months’

imprisonment, with no supervised release to follow. The Defendant requested to serve his prison

term at the Federal Correctional Institution in Seagoville, Texas. The Defendant’s request

should be accommodated, if possible.



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                                      VIII. Objections
       At the close of the revocation hearing, the Defendant, defense counsel, and counsel for

the government each signed a standard form waiving their right to object to the proposed

findings and recommendations contained in this report, consenting to revocation of supervised

release, and consenting to the imposition of the above sentence recommended in this report

(involving all conditions of supervised release, if applicable). The Defendant also waived his

right to be present and speak and have his counsel present and speak before the district court

imposes the recommended sentence.        Therefore, the court may act on this report and

recommendation immediately.


       SIGNED this 25th day of March, 2025.




                                                    _________________________
                                                    Zack Hawthorn
                                                    United States Magistrate Judge




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